                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                               EASTERN DIVISION



 UNITED STATES OF AMERICA,
                Plaintiff,                                   No. CR07-2006-MWB
 vs.                                                 ORDER CONCERNING
                                                MAGISTRATE’S SUPPLEMENTAL
 LESLIE GOCHA,                                 REPORT AND RECOMMENDATION
                                                   REGARDING DEFENDANT’S
                Defendant.                           MOTION TO SUPPRESS
                                    ____________________


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                      I. INTRODUCTION AND BACKGROUND
                               A. Procedural Background
       On April 19, 2007, a superseding indictment was returned against defendant Leslie
Gocha charging him with conspiracy to distribute 500 grams or more of methamphetamine,
in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A) and 846; being an unlawful user of
controlled substances in possession of a firearm, in violation of 18 U.S.C. § 922(g)(3); and
possession of firearms in furtherance of a drug trafficking crime, in violation of 18 U.S.C.
§ 924(c). On June 1, 2007, defendant Gocha filed a motion to suppress and application
for a hearing pursuant to Franks v. Delaware, 438 U.S. 154 (1978). In his motion,
defendant Gocha seeks to suppress evidence found during searches of his residence and
shop as well as searches of computers and electronic equipment. Defendant Gocha argues
that a law enforcement officer deliberately or recklessly included certain false or erroneous
information in the warrant affidavit, and if this information had been left out of the
affidavit, probable cause would have been lacking. He asks for a hearing pursuant to
Franks v. Delaware, 438 U.S. 154 (1978). Defendant Gocha further contends that law
enforcement officers violated his rights under the Fourth Amendment to the United States
Constitution when they conducted a pre-warrant “protective sweep” of his residence and
shop. In addition, defendant Gocha challenges the legality of all three subsequently
obtained search warrants, arguing that the search warrants were tainted by the prior
illegality of prior warrantless searches of his residence and the shop. Defendant Gocha
further challenged the second and third search warrants on the ground that they were
overbroad and lacking the requisite particularity.
       Defendant Gocha’s motion to suppress was referred to Chief United States
Magistrate Judge Paul A. Zoss, pursuant to 28 U.S.C. § 636(b). Judge Zoss conducted
an evidentiary hearing and then filed a Report and Recommendation in which he

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recommends that defendant Gocha’s motion to suppress be denied. Judge Zoss concluded
that defendant Gocha had not made the requisite showing to warrant a Franks hearing.
Judge Zoss further concluded that there was no evidence to suggest that the law
enforcement officer seeking the search warrant for defendant Gocha’s shop and residence
deliberately or recklessly failed to include in his affidavit information that would have
detracted from probable cause. Judge Zoss also concluded that law enforcement officers
did not violate defendant Gocha’s rights under the Fourth Amendment to the United States
Constitution when they conducted a pre-warrant “protective sweep” of his residence and
shop. Finally, Judge Zoss concluded that because the initial consent search was lawful,
there is no taint attached to any of the search warrants. Therefore, Judge Zoss
recommended that defendant Gocha’s motion to suppress be denied. Defendant Gocha
filed objections to Judge Zoss’s Report and Recommendation.
      On August 8, 2007, this court issued an order adopting Judge Zoss’s Report and
Recommendation as to the first of the three search warrants challenged by defendant
Gocha, but remanding the matter to Judge Zoss for the filing of a supplemental Report and
Recommendation with regard to defendant Gocha’s motion to suppress the second and third
search warrants. Judge Zoss has filed a Supplemental Report and Recommendation in
which he recommends that the remaining portion of defendant Gocha’s motion to suppress
also be denied. Judge Zoss concluded that the warrant applications provided probable
cause for issuance of the warrants to search defendant Gocha’s computers, digital cameras,
Palm Pilot, and media storage devices, and it was reasonable for the issuing magistrate to
conclude evidence of defendant Gocha’s drug trafficking activities would be found in or
on those items. Judge Zoss also concluded that the second and third search warrants met
the particularity requirement and were not overly broad. Accordingly, Judge Zoss
recommended that defendant Gocha’s motion to suppress be denied with regard to the

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second and third search warrants. Defendant Gocha has filed objections to Judge Zoss’s
Supplemental Report and Recommendation.           The court, therefore, undertakes the
necessary review of Judge Zoss’s recommended disposition of defendant Gocha’s motion
to suppress with regard to the second and third search warrants.


                                  B. Factual Background
       The court incorporates by reference those factual findings made in its prior Order
Concerning Magistrate’s Report and Recommendation Regarding Defendant’s Motion To
Suppress. In addition, in his Supplemental Report and Recommendation, Judge Zoss made
the following findings of fact:
                     The second warrant application was submitted to a
              Mitchell County magistrate judge on November 17, 2006.
              (See Doc. No. 26-9) The application sought authority to
              search/seize the following “personal property and other items”
              located at the residence shared by Gocha and Niky Lewis:
                     1.     A DELL lap top computer #X08-73061,
                     a Windows XP Home Edition HP # CNF
                     4491YK7, a DELL lap top computer # CN-
                     OF3553-12961-481-4507, a Hewlett Packard lap
                     top #CNF5211FXN, a home made computer
                     with no numbers being black in color, a home
                     made computer with no numbers being green in
                     color, a XBADE computer #556794GR2331,
                     and a DELL Windows XP Home Edition #X10-
                     60264. Any and all documentation and records,
                     whether on paper or stored on optical or
                     magnetic media (including information stored
                     within a computer), disclosing, describing,
                     referring, reflecting, or adverting to include but
                     not limited to the sale, possession[,]
                     manufacturing and or distributing of controlled
                     substances, associated BIOS, driver software

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              programs, and all peripheral equipment
              (LCD/CRT controller, modems, printers,
              scanners, video cameras/camcorders/VCRS, and
              other image capturing/reproducing devices).
              2.     Computer hardware, software and data
              including, but not limited to[,] central processing
              units (CPU’s), hard disks, hard disk drives,
              floppy disk drives, tape drives, CD-ROM drives,
              display screens, keyboards, printers, modems,
              scanning             devices,             video
              cameras/camcorders/VCRS, and other image
              capturing/reproducing devices, magnetic tapes,
              cassette tapes, compact disks, thumb drives,
              removable USB storage devices, personal digital
              assistants (PDA), electronic organizers and
              floppy disks found together or separately from
              one another.
              3.    Written documentation, whether typed or
              hand written, including, but not limited to,
              computer manuals and instructions for the use of
              any computers and their accessories found at the
              premises.
              4.      Any and all documentation and records,
              whether on paper or stored on computer media
              (including information stored within a
              computer), disclosing, describing, referring,
              reflecting, or adverting to contemplated, present
              or previous agreements, arrangements, inquiries
              or discussions by Leslie Robert Gocha or Niky
              Lynn Lewis with any individual or entity
              concerning: the selling, manufacturing,
              marketing, transferring, providing, furnishing or
              sampling of all controlled substances or
              documents, records, images, magnetic media
              (including information stored within a computer)


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              or other items incorporating, or purportedly
              compatible with the recording, sending,
              receiving, reproducing and viewing of any and
              all controlled substances and paraphernalia.
              Such information to be seized includes personal
              communications between individuals or entities
              who are not subject on the warrant, specifically
              including electronic communications residing on
              optical or magnetic media (“E-mail”).
              5.      Any and all documentation and records,
              whether on paper or stored on magnetic media
              (including information stored within a
              computer), disclosing, describing, referring,
              reflecting, or adverting to contemplated, present
              or previous agreements, arrangements, inquiries,
              or discussions by Leslie Robert Gocha and Niky
              Lynn Lewis with suspected narcotics associates
              concerning: the selling, manufacturing,
              marketing, transferring, providing, furnishing,
              sampling, or examining of documents, records,
              images, magnetic media (including information
              stored within a computer) or other items
              incorporating, or purportedly compatible with
              the recording, sending, receiving, and or
              manufacturing of any and all controlled
              substances and related paraphernalia. Such
              information to be seized includes personal
              communications between individuals or entities
              who are not subject on the warrant, specifically
              including electronic communications residing on
              magnetic media (“E-mail”).
              6.     Any and all documentation and records,
              whether on paper or stored on optical or
              magnetic media (including information stored
              within a computer), disclosing, describing,
              referring, reflecting, or adverting to

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              contemplated, present or previous agreements,
              arrangements, inquiries, or discussions by Leslie
              Robert Gocha and Niky Lynn Lewis with any
              suspected narcotics associates concerning: the
              selling, manufacturing, marketing, transferring,
              providing, furnishing, sampling, or examining of
              documents, records, images, magnetic media
              (including information stored within a computer)
              or other items incorporating, or purportedly
              compatible with the recording, sending or
              manufacturing of any and all controlled
              substances and related paraphernalia. Such
              information to be seized includes personal
              communications between individuals or entities
              who are not subject on the warrant, specifically
              including electronic communications residing on
              magnetic media (“E-mail”).
              7.      Evidence of occupancy and control of said
              premises, including but not limited to, utility
              company bills, internet provider bills or
              payments, cancelled mail envelopes, personal
              identification papers, photographs, rent receipts,
              and keys.
              8.      In a circumstance where the item seized
              may contain digital information i.e., computer,
              or other removable digital storage device, the
              peace officers are hereby authorized to make a
              bit by bit physical copy providing a digital image
              of said item. This will be done in order to
              facilitate a forensic examination of the image in
              a laboratory setting without altering the original
              data.
        (Doc. No. 26-9 at 1-2)




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               Deputy Greg Beaver of the Mitchell County Sheriff’s
        Office supplied an Affidavit in support of the second warrant
        application. In his affidavit, Deputy Beaver summarized his
        law enforcement experience and his experience in drug-related
        investigations. Deputy Beaver stated the following with regard
        to his expectation that materials relevant to the investigation
        could be found within the personal property listed above:
               4.     The affiant and [other law enforcement
               officers and/or agents] have found through prior
               investigations, experience, and research, those
               involved in the drug trade almost always
               maintain and possess records of their active drug
               trade.      Materials such as: photographs,
               magazines, negatives, films, video tapes, files,
               correspondence, mailing lists, books, tapes,
               recordings, and catalogs. These materials are
               stored in a secure but accessible location, which
               is within their immediate control, such as in the
               privacy and security of their own homes. If
               privacy within their residence can not be
               assured, they will seek a secure, accessible
               location near by, such as on their person or in
               their personal effects, their automobile, safe
               deposit boxes, or locked shed. In addition to
               narcotics records those involved in the drug
               trade often times maintain photographs of
               associates relating to the use of, distribution of
               or proceeds from the sale of narcotics. It is also
               common that those involved in the drug trade
               retain proceeds from the sale of narcotics. It is
               also common that those involved in the drug
               trade retain material including related
               correspondence, for many years.              These
               individuals will rarely voluntarily dispose [of] or
               depart [sic] with their materials, which are
               considered treasured possessions and often times
               used for continued points of distribution.

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        (Doc. No. 26-9 at 3)

        Deputy Beaver then provided the following background of the
        current investigation:
               On October 21st, 2006 the Mitchell County
               Sheriff’s Office executed a search warrant at
               3009 360th St. Osage, Iowa. During the course
               of that search warrant numerous computers,
               digital cameras, video recorders and audio tapes
               were seized. In addition to the items mentioned
               suspected controlled substances, cash and guns
               were seized. Often times those involved in the
               drug trade will use videotape cassettes and
               digital media in various ways. For example,
               such videotapes and digital media containing
               associates and their drug use and or distribution
               may be stored within multiple disks and cards
               designed to hold digital images. Based on the
               affiant’s training and experience, most
               individuals involved in drug trafficking in a
               digital or video format will utilize store bought
               devices such as smart cards, digital memory
               chips or disks to record, copy, or maintain
               records of drug transactions.
                      Consequently, in order to conduct a
              thorough examination of the contents of the
              above mentioned digital camera it is necessary to
              examine the contents of the camera in its entirety
              to include any smart cards or memory devices
              designed to store images from a digital camera.
              As such, it is requested that authority be granted
              to remove the digital camera and all
              accompanying storage devices seized during the
              execution of the search warrant by the Mitchell
              County Sheriff’s Office on October 21, 2006
              [for] further examination.

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                          WHEREFORE, your affiant respectfully
                    requests that a warrant be issued authorizing the
                    Mitchell County Sheriff’s Office with
                    appropriate assistance with/from other law
                    enforcement officers, to examine the digital
                    camera, any and all computers and storage
                    media found on October 21st, 2006 by the
                    Mitchell County Sheriff’s Office.
             (Doc. No. 26-9 at 3-4)

                    The state magistrate found probable cause and issued
             the warrant as requested on November 17, 2006. On April 20,
             2007, Deputy Beaver submitted another application for search
             warrant (the third application). The application, supporting
             affidavit, and proposed warrant were identical to those
             submitted on November 17, 2006, except in one respect; i.e.,
             in paragraph 1 of the warrant, the specific property to be
             searched/seized was described as follows: “A silver colored
             Palm Pilot with TEXAS INSTRUMENTS TECHNOLOGY
             OMAP appearing on the back.” (Doc. No. 66, ¶ 1)

Supplemental Report and Recommendation at pp. 3-7 (footnote omitted). Upon review of
the record, the court adopts all of Judge Zoss’s factual findings.


                                II. LEGAL ANALYSIS
                                A. Standard Of Review
      Pursuant to statute, this court’s standard of review for a magistrate judge’s report
and recommendation is as follows:
             A judge of the court shall make a de novo determination of
             those portions of the report or specified proposed findings or
             recommendations to which objection is made. A judge of the



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             court may accept, reject, or modify, in whole or in part, the
             findings or recommendations made by the magistrate [judge].

28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s report and recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
             The district judge to whom the case is assigned shall make a de
             novo determination upon the record, or after additional
             evidence, of any portion of the magistrate judge’s disposition
             to which specific written objection has been made in
             accordance with this rule. The district judge may accept,
             reject, or modify the recommended decision, receive further
             evidence, or recommit the matter to the magistrate judge with
             instructions.

FED. R. CIV. P. 72(b).
      The Eighth Circuit Court of Appeals has repeatedly held that it is reversible error
for the district court to fail to conduct a de novo review of a magistrate judge’s report
where such review is required. See, e.g., Hosna v. Groose, 80 F.3d 298, 306 (8th Cir.)
(citing 28 U.S.C. § 636(b)(1)), cert. denied, 519 U.S. 860 (1996); Grinder v. Gammon,
73 F.3d 793, 795 (8th Cir. 1996) (citing Belk v. Purkett, 15 F.3d 803, 815 (8th Cir.
1994)); Hudson v. Gammon, 46 F.3d 785, 786 (8th Cir. 1995) (also citing Belk). As noted
above, defendant Gocha has filed objections to Judge Zoss’s Supplemental Report and
Recommendation. The court, therefore, undertakes the necessary review of Judge Zoss’s
recommended disposition of defendant Gocha’s motion to suppress.




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             B. Objections To Supplemental Report and Recommendation
              1.     Fruit of the poisonous tree
       Defendant Gocha objects to Judge Zoss’s conclusion that because the second and
third search warrants were based on the results of the warrantless searches and the first
search warrant, which the court upheld in its prior Order Concerning Magistrate’s Report
and Recommendation Regarding Defendant’s Motion To Suppress, that defendant Gocha’s
argument that the second and third search warrants were “fruit of the poisonous tree” must
fail. Supplemental Report and Recommendation at 2. Although defendant Gocha objects
to this portion of Judge Zoss’s Supplemental Report and Recommendation, he does not
state a basis for his objection. The court concludes from this that defendant Gocha’s
objection on this ground is merely a reiteration of his objections to Judge Zoss’s original
Report and Recommendation in this case. As noted above, the court adopted Judge Zoss’s
Report and Recommendation as to the first of the three search warrants challenged by
defendant Gocha. In Wong Sun v. United States, 371 U.S. 471 (1963), the seminal case
defining the fruit of the poisonous tree doctrine, the United States Supreme Court
articulated that derivative evidence, such as physical evidence, a confession, or the
testimony of a witness, is not “‘fruit of the poisonous tree’ simply because it would not
have come to light but for the illegal actions of the police.” Id. at 488. Rather, derivative
evidence must be suppressed as “fruit of the poisonous tree” if it was discovered by
exploiting an illegal search. See id.; see also Oregon v. Elstad, 470 U.S. 298, 305-06
(1985) (noting that the “fruit of the poisonous tree” doctrine is drawn from Wong Sun,
where “the Court held that evidence and witnesses discovered as a result of a search in
violation of the Fourth Amendment must be excluded from evidence”). Because the court
previously concluded that neither the original warrantless searches nor the search
conducted pursuant to the first search warrant were illegal, it is clear that the fruit of the

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poisonous tree doctrine has no application here with respect to the second and third search
warrants. Therefore, this objection is overruled.
              2.      Probable cause to search computers
       Defendant Gocha also objects to Judge Zoss’s conclusion that there was a substantial
basis to support the state magistrate’s finding of probable cause to search defendant
Gocha’s personal computers. The seminal case of Illinois v. Gates, 462 U.S. 213 (1983),
provides the standard an issuing court must follow in determining whether probable cause
supports a search warrant application and, consequently, the duty of the reviewing court
when considering the propriety of that determination:
              The task of the issuing magistrate is simply to make a
              practical, common-sense decision whether, given all the
              circumstances set forth in the affidavit before him, including
              the "veracity" and "basis of knowledge" of persons supplying
              hearsay information, there is a fair probability that contraband
              or evidence of a crime will be found in a particular place.
Id. at 238.
       The question presented on review of an issuing judicial officer's determination is
not whether the reviewing court would have issued the warrant based on the affidavit as
presented, but whether the court which did issue the warrant had a "'substantial basis for
. . . conclud[ing]' that probable cause existed." Id. at 238-239 (citation omitted). Thus,
a reviewing court does not conduct a de novo review of the issuing judge's determination,
but must instead afford it great deference. Id. at 236. As the United States Supreme Court
explained in Gates:
              [W]e have repeatedly said that after-the-fact scrutiny by courts
              of the sufficiency of an affidavit should not take the form of de
              novo review. A magistrate's "determination of probable
              cause should be paid great deference by reviewing courts."
              [Spinelli v. United States, 393 U.S. 410, 419, 89 S. Ct. 584,

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               590, 21 L.Ed. 2d 637 (1969) ]. "A grudging or negative
               attitude toward warrants," [United States v. Ventresca, 380
               U.S. 102, 108, 85 S. Ct. 741, 745-46, 13 L.Ed. 2d 684
               (1965)], is inconsistent with the Fourth Amendment's strong
               preference for searches conducted pursuant to a warrant;
               "courts should not invalidate warrant[s] by interpreting
               affidavit[s] in a hypertechnical, rather than a commonsense,
               manner." Id., at 109, 85 S. Ct. at 746.
Gates, 462 U.S. at 236; see also United States v. Gladney, 48 F.3d 309, 312 (8th Cir.
1995).
         The Eighth Circuit Court of Appeals has weighed in on this topic as well, observing
that:
               Probable cause exists when "there are sufficient facts to justify
               the belief by a prudent person that contraband or evidence of
               a crime will be found in the place to be searched.
Gladney, 48 F.3d at 312 (quoting United States v. Bieri, 21 F.3d 811, 815 (8th Cir.1994));
see also United States v. Summage, 481 F.3d 1075, 1077 (8th Cir. 2007) (“Probable cause
exists, if under the totality of the circumstances, a showing of facts can be made ‘sufficient
to create a fair probability that evidence of a crime will be found in the place to be
searched.’” ) (quoting United States v. Underwood, 364 F.3d 956, 963 (8th Cir. 2004)
(quoting in turn United States v. Gabrio, 295 F.3d 880, 883 (8th Cir. 2002)); United States
v. Wells, 223 F.3d 835, 838 (8th Cir. 2000) (“The evidence as a whole must provide a
substantial basis for a finding of probable cause to support the issuance of a search
warrant.”); United States v. Johnson, 219 F.3d 790, 790 (8th Cir. 2000) ("Probable cause
means a fair probability that contraband or evidence of a crime will be found in a
particular place given the circumstances set forth in the affidavit.") (quoting United States
v. Tellez, 217 F.3d 547 (8th Cir. 2000) (in turn quoting United States v. Horn, 187 F.3d



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781 (8th Cir. 1999) (internal quotation marks omitted)).         Equally on point is the
observation of Justice (then Judge) Kennedy:
              For probable cause to exist, a magistrate need not determine
              that the evidence sought is in fact on the premises to be
              searched, or that the evidence is more likely than not to be
              found where the search takes place. The magistrate need only
              conclude that it would be reasonable to seek the evidence in
              the place indicated in the affidavit.
United States v. Peacock, 761 F.2d 1313, 1315 (9th Cir. 1985), cert. denied, 474 U.S.
847 (1985) (emphasis added in part) (citations omitted). Where, as here, the issuing state
magistrate relied solely on the affidavit presented to her, “‘only that information which is
found within the four corners of the affidavit may be considered in determining the
existence of probable cause.’”     Gladney, 48 F.3d at 312 (quoting United States v.
Leichtling, 684 F.2d 553, 555 (8th Cir. 1982), cert. denied, 459 U.S. 1201 (1983)).
       Upon review of the record and Judge Zoss’s Report and Recommendation, the court
concludes that Judge Zoss correctly concluded that there was a substantial basis to support
the state magistrate’s finding of probable cause to search defendant Gocha’s personal
computers. The court recognizes that the Eighth Circuit Court of Appeals has held that
"punctilious paragraph-by-paragraph dissection of the supporting affidavit" is not the
appropriate standard of review. United States v. Townsley, 843 F.2d 1070, 1076 (8th Cir.
1988); see United States v. Leisure, 844 F.3d 1347, 1354 (8th Cir. 1988) (declining to
“undertake a piecemeal dismemberment of the various paragraphs of the affidavit without
attention to its force as a whole.”). Rather, the court acknowledges that a determination
of probable cause depends on a reading of the affidavit as a whole. Gates, 462 U.S. at
237. Here, Judge Zoss considered the affidavit as a whole. Viewing the affidavit in a
common sense manner, the court cannot say that the issuing state magistrate did not have


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a substantial basis to believe that the items sought in the warrant would be found on
defendant Gocha’s personal computers. “‘[I]n the case of drug dealers, evidence is likely
to be found where the dealers live.’” United States v. Newton, 389 F.3d 631, 635 (6th
Cir. 2004) (quoting United States v. Jones, 159 F.3d 969, 975 (6th Cir. 1998) (internal
citations omitted)). This would logically extend to personal computers found where
dealers live. The court, therefore, also overrules this objection.
      3.     Overbroad and lacking in particularity
      Defendant Gocha also objects to Judge Zoss’s conclusion that the search warrants
were not overbroad or lacking in particularity. “The Warrant Clause of the Fourth
Amendment categorically prohibits the issuance of any warrant except for one ‘particularly
describing the place to be searched and the persons or things to be seized.’” Maryland v.
Garrison, 480 U.S. 79, 84 (1987) (quoting U.S. CONST. AMEND. IV). A warrant that fails
in this particularity requirement is invalid. Groh v. Ramirez, 540 U.S. 551, 557 (2004);
Massachusetts v. Sheppard, 468 U.S. 981, 988, n.5 (1984); Stanford v. Texas, 379 U.S.
476, 485 (1965). The United States Supreme Court has observed:
             that the purpose of the particularity requirement is not limited
             to the prevention of general searches. See Garrison, 480
             U.S., at 84, 107 S. Ct. 1013. A particular warrant also
             “assures the individual whose property is searched or seized of
             the lawful authority of the executing officer, his need to
             search, and the limits of his power to search.” United States
             v. Chadwick, 433 U.S. 1, 9, 97 S.Ct. 2476, 53 L.Ed.2d 538
             (1977) (citing Camara v. Municipal Court of City and County
             of San Francisco, 387 U.S. 523, 532, 87 S. Ct. 1727 (1967)),
             abrogated on other grounds, California v. Acevedo, 500 U.S.
             565, 111 S. Ct. 1982, 114 L.Ed.2d 619 (1991). See also
             Illinois v. Gates, 462 U.S. 213, 236, 103 S.Ct. 2317 (1983)
             (“[P]ossession of a warrant by officers conducting an arrest or



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             search greatly reduces the perception of unlawful or intrusive
             police conduct”).
Groh, 540 U.S. at 562-63 (footnote omitted).
      The Eighth Circuit Court of Appeals instructed earlier this year that:
             “To satisfy the particularity requirement of the fourth
             amendment, the warrant must be sufficiently definite to enable
             the searching officers to identify the property authorized to be
             seized.” United States v. Horn, 187 F.3d 781, 788 (8th Cir.
             1999). “The degree of specificity required will depend on the
             circumstances of the case and on the type of items involved.”
             Id. The particularity requirement “is a standard of ‘practical
             accuracy’ rather than a hypertechnical one.” United States v.
             Peters, 92 F.3d 768, 769-70 (8th Cir.1996).
Summage, 481 F.3d at 1079. The court further instructed that “[t]he requirement of
particularity must be assessed in terms of practicality.” Id.
      Here, the second search warrant identified the property which could be seized as
follows:
             1.      A DELL lap top computer #X08-73061, a Windows XP
             Home Edition HP # CNF 4491YK7, a DELL lap top computer
             # CN-OF3553-12961-481-4507, a Hewlett Packard lap top
             #CNF5211FXN, a home made computer with no numbers
             being black in color, a home made computer with no numbers
             being green in color, a XBADE computer #556794GR2331,
             and a DELL Windows XP Home Edition #X10-60264. Any
             and all documentation and records, whether on paper or stored
             on optical or magnetic media (including information stored
             within a computer), disclosing, describing, referring,
             reflecting, or adverting to include but not limited to the sale,
             possession[,] manufacturing and or distributing of controlled
             substances, associated BIOS, driver software programs, and all
             peripheral equipment (LCD/CRT controller, modems,
             printers, scanners, video cameras/camcorders/VCRS, and
             other image capturing/reproducing devices).

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        2.     Computer hardware, software and data including, but
        not limited to[,] central processing units (CPU’s), hard disks,
        hard disk drives, floppy disk drives, tape drives, CD-ROM
        drives, display screens, keyboards, printers, modems,
        scanning devices, video cameras/camcorders/VCRS, and other
        image capturing/reproducing devices, magnetic tapes, cassette
        tapes, compact disks, thumb drives, removable USB storage
        devices, personal digital assistants (PDA), electronic
        organizers and floppy disks found together or separately from
        one another.
        3.     Written documentation, whether typed or hand written,
        including, but not limited to, computer manuals and
        instructions for the use of any computers and their accessories
        found at the premises.
        4.      Any and all documentation and records, whether on
        paper or stored on computer media (including information
        stored within a computer), disclosing, describing, referring,
        reflecting, or adverting to contemplated, present or previous
        agreements, arrangements, inquiries or discussions by Leslie
        Robert Gocha or Niky Lynn Lewis with any individual or
        entity concerning: the selling, manufacturing, marketing,
        transferring, providing, furnishing or sampling of all
        controlled substances or documents, records, images, magnetic
        media (including information stored within a computer) or
        other items incorporating, or purportedly compatible with the
        recording, sending, receiving, reproducing and viewing of any
        and all controlled substances and paraphernalia. Such
        information to be seized includes personal communications
        between individuals or entities who are not subject on the
        warrant, specifically including electronic communications
        residing on optical or magnetic media (“E-mail”).
        5.      Any and all documentation and records, whether on
        paper or stored on magnetic media (including information
        stored within a computer), disclosing, describing, referring,
        reflecting, or adverting to contemplated, present or previous

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        agreements, arrangements, inquiries, or discussions by Leslie
        Robert Gocha and Niky Lynn Lewis with suspected narcotics
        associates concerning: the selling, manufacturing, marketing,
        transferring, providing, furnishing, sampling, or examining of
        documents, records, images, magnetic media (including
        information stored within a computer) or other items
        incorporating, or purportedly compatible with the recording,
        sending, receiving, and or manufacturing of any and all
        controlled substances and related paraphernalia.         Such
        information to be seized includes personal communications
        between individuals or entities who are not subject on the
        warrant, specifically including electronic communications
        residing on magnetic media (“E-mail”).
        6.     Any and all documentation and records, whether on
        paper or stored on optical or magnetic media (including
        information stored within a computer), disclosing, describing,
        referring, reflecting, or adverting to contemplated, present or
        previous agreements, arrangements, inquiries, or discussions
        by Leslie Robert Gocha and Niky Lynn Lewis with any
        suspected narcotics associates concerning: the selling,
        manufacturing, marketing, transferring, providing, furnishing,
        sampling, or examining of documents, records, images,
        magnetic media (including information stored within a
        computer) or other items incorporating, or purportedly
        compatible with the recording, sending or manufacturing of
        any and all controlled substances and related paraphernalia.
        Such information to be seized includes personal
        communications between individuals or entities who are not
        subject on the warrant, specifically including electronic
        communications residing on magnetic media (“E-mail”).
        7.      Evidence of occupancy and control of said premises,
        including but not limited to, utility company bills, internet
        provider bills or payments, cancelled mail envelopes, personal
        identification papers, photographs, rent receipts, and keys.




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           8.      In a circumstance where the item seized may contain
           digital information i.e., computer, or other removable digital
           storage device, the peace officers are hereby authorized to
           make a bit by bit physical copy providing a digital image of
           said item. This will be done in order to facilitate a forensic
           examination of the image in a laboratory setting without
           altering the original data.
Search Warrant, Doc. No. 26-9 at 6-7.
     The third search warrant identified the property which could be seized as follows:
           1.     A silver colored Palm Pilot with TEXAS
           INSTRUMENTS TECHNOLOGY OMAP appearing on the
           back. Any and all documentation and records, whether on
           paper or stored on optical or magnetic media (including
           information stored with a computer), disclosing, describing,
           referring, reflecting, or adverting to include but not limited to
           the sale possession manufacturing and or distribution of
           controlled substances, associated BIOS, driver software
           programs, and all peripheral equipment (LCD/CRT controller,
           modems,            printers,         scanners,           video
           cameras/camcorders/VC R S , a n d o t h e r i m a g e
           capturing/reproducing devices).


           2.     Computer hardware, software and data including, but
           not limited to[,] central processing units (CPU’s), hard disks,
           hard disk drives, floppy disk drives, tape drives, CD-ROM
           drives, display screens, keyboards, printers, modems,
           scanning devices, video cameras/camcorders/VCRS, and other
           image capturing/reproducing devices, magnetic tapes, cassette
           tapes, compact disks, thumb drives, removable USB storage
           devices, personal digital assistants (PDA), electronic
           organizers and floppy disks found together or separately from
           one another.
           3.     Written documentation, whether typed or hand written,
           including, but not limited to, computer manuals and

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        instructions for the use of any computers and their accessories
        found at the premises.
        4.      Any and all documentation and records, whether on
        paper or stored on computer media (including information
        stored within a computer), disclosing, describing, referring,
        reflecting, or adverting to contemplated, present or previous
        agreements, arrangements, inquiries or discussions by Leslie
        Robert Gocha or Niky Lynn Lewis with any individual or
        entity concerning: the selling, manufacturing, marketing,
        transferring, providing, furnishing or sampling of all
        controlled substances or documents, records, images, magnetic
        media (including information stored within a computer) or
        other items incorporating, or purportedly compatible with the
        recording, sending, receiving, reproducing and viewing of any
        and all controlled substances and paraphernalia. Such
        information to be seized includes personal communications
        between individuals or entities who are not subject on the
        warrant, specifically including electronic communications
        residing on optical or magnetic media (“E-mail”).
        5.      Any and all documentation and records, whether on
        paper or stored on magnetic media (including information
        stored within a computer), disclosing, describing, referring,
        reflecting, or adverting to contemplated, present or previous
        agreements, arrangements, inquiries, or discussions by Leslie
        Robert Gocha and Niky Lynn Lewis with suspected narcotics
        associates concerning: the selling, manufacturing, marketing,
        transferring, providing, furnishing, sampling, or examining of
        documents, records, images, magnetic media (including
        information stored within a computer) or other items
        incorporating, or purportedly compatible with the recording,
        sending, receiving, and or manufacturing of any and all
        controlled substances and related paraphernalia.         Such
        information to be seized includes personal communications
        between individuals or entities who are not subject on the
        warrant, specifically including electronic communications
        residing on magnetic media (“E-mail”).

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            6.     Any and all documentation and records, whether on
            paper or stored on optical or magnetic media (including
            information stored within a computer), disclosing, describing,
            referring, reflecting, or adverting to contemplated, present or
            previous agreements, arrangements, inquiries, or discussions
            by Leslie Robert Gocha and Niky Lynn Lewis with any
            suspected narcotics associates concerning: the selling,
            manufacturing, marketing, transferring, providing, furnishing,
            sampling, or examining of documents, records, images,
            magnetic media (including information stored within a
            computer) or other items incorporating, or purportedly
            compatible with the recording, sending or manufacturing of
            any and all controlled substances and related paraphernalia.
            Such information to be seized includes personal
            communications between individuals or entities who are not
            subject on the warrant, specifically including electronic
            communications residing on magnetic media (“E-mail”).
            7.      Evidence of occupancy and control of said premises,
            including but not limited to, utility company bills, internet
            provider bills or payments, cancelled mail envelopes, personal
            identification papers, photographs, rent receipts, and keys.
            8.      In a circumstance where the item seized may contain
            digital information i.e., computer, or other removable digital
            storage device, the peace officers are hereby authorized to
            make a bit by bit physical copy providing a digital image of
            said item. This will be done in order to facilitate a forensic
            examination of the image in a laboratory setting without
            altering the original data.
 Search Warrant, Doc. No. 66 at 1-2.
      The court finds that both the second and third search warrants sufficiently satisfy
the particularity requirement because the language contained within the warrants
adequately allowed the police to avoid searching and seizing the wrong items. See In
United States v. Tyler, 238 F.3d 1036, 1039 (8th Cir. 2001) (holding that the search

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warrant was sufficiently specific when it identified a wide range of items that were related
to drug use and trafficking). Moreover, because the police did not know the particulars
of defendant Gocha’s electronic data storage, it was necessary to search a broad array of
items for relevant evidence of drug trafficking. See Summage, 481 F.3d at 1079 (holding
that search warrant to search defendant's house for evidence of alleged incident in which
defendant solicited a mentally retarded man to have sex and video taped the sexual
encounter was neither overbroad nor lacking in particularity where the search warrant
included among listed items to be seized all video tapes and DVDs, pornographic pictures,
video and digital recording devices and equipment, all equipment used to develop, upload,
or download photographs or movies, and computers where at the time the search warrant
was applied for the police did not know the particular format in which evidence of the
incident was being maintained). The court, therefore, concludes that the second and third
search warrants were neither overbroad nor lacking in particularity and overrules
defendant Gocha’s objection to this portion of Judge Zoss’s Supplemental Report and
Recommendation.


                                   III. CONCLUSION
       Therefore, for the reasons set forth above, the court, upon a de novo review of the
record, accepts Judge Zoss’s Supplemental Report and Recommendation and denies
defendant Gocha’s motion to suppress with regard to the second and third search warrants.




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   IT IS SO ORDERED.
   DATED this 28th day of August, 2007.


                                          __________________________________
                                          MARK W. BENNETT
                                          U. S. DISTRICT COURT JUDGE
                                          NORTHERN DISTRICT OF IOWA




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